Case 2:17-cr-00225-SI\/|-.]CW Document 8 Filed 12/01/17 Page 1 of 3

AO 472 (Rcv. 09/1 61 Ordcr ot`Dctcntion Pending Trial

UNITED STATES DlsTRICT CoURT

for the

Eastern District of Louisiana

United States of America

v.
Case No. 17-225 E
RONALD THOMPSQN__,_ _JR.

Dejie mican

\_d\._.¢\_/\_J\._/

ORDER OF DETENTION PENDING TRIAL
Part I - Eligibility for Detention

U pon the

l:l Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f`)(1), or
l:l l\/|otion of the Govermnent or Court’s own motion pursuant to 18 U.S.C. § 3142(1‘)(2)`

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court"s findings of fact
and conclusions of law__ as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing

Part II - Findings of Fact and Law as to Presumptions under § 3142(e)

l:lA. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previazis viniamr): There is a rebuttable
presumption that no condition or combination of conditions will reasonably assure the safety ofany other person
and the community because the following conditions have been met:
ij (l) the defendant is charged with one ofthe following crimes described in 18 U.S.C. § 3142(1‘)( 1 ):
l:l (a) a crime of violence, a violation of 18 U.S.C.§ 1591, or an offense listed in 18 U.S.C.
§ 2332b(g)(5)(13) for which a maximum term of imprisonment of 10 years or more is prescribed; or
l:l (l)) an offense for which the maximum sentence is life imprisonment or death; or
l:l (c) an offense for which a maximum terln of imprisonment of 10 years or more is prescribed in the
Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances lmport and Export Act
(21 U.S.C. §§ 951-971), or Chapter 705 ofTitlc 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
l:l (d) any felony if such person has been convicted of two or more offenses described in subparagraphs
(a) through (c) ofthis paragraph, or two or more State or local offenses that would have been offenses
described in subparagraphs (a) through (c) ofthis paragraph ifa circumstance giving rise to Federal
jurisdiction had existed, ora combination of such offenses; or
I:l (e) any felony that is not otherwise a crime ofviolence but involves:
(i) a minor victim; (ii) the possession ofa firearm or destructive device (as defined in 18 U.S.C. § 921);
(iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
1:1(2) the defendant has previously been convicted ofa Fedcral offense that is described in 18 U.S.C.
§ 3142(1)(1), or ofa State or local offense that would have been such an offense ifa circumstance giving rise
to Federaljurisdiction had existed; and
l:l (3) the offense described in paragraph (2) above for which the defendant has been convicted was
committed while the defendant was on release pending trial for a Federal, State, or local offense; amf
1:1(4) a period of not more than five years has elapsed since the date of conviction, or the release ofthe
defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.

F’age ’1 of 3

Case 2:17-cr-00225-SI\/|-.]CW Document 8 Filed 12/01/17 Page 2 of 3

A() -172 {Rev 09716) Ordcr ot`Dctcntion I’cnding 'l'riai

 

 

l:lB. Rebuttable Presumption Arises Untler 18 U.S.C. §3142(€)(3) (nai~co:ics.frrecu'm. orlzeroyjr;»mes): There is a
rebuttable presumption that no condition or combination ofconditions will reasonably assure the appearance ofthe
defendant as required and the safety of the community because there is probable cause to believe that the defendant
committed one or lnore ofthe following of|`enses:

l:l (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the

Controilcd Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances lmport and Export Act (21
U.S.C. §§ 951-971), or Chapter 705 ofTitle 46, U.S.C. (46 U.S.C. §§ 70501-70508);

[1(2) an arrange under 18 u.s.C. §§ 924(¢), 956(3), er 2332b;

l:l (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(13) for which a maximum term of imprisonment of 10 years
or more is prescribed;

|:l (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum term of
imprisonment of20 years or more is prescribed; or

l:] (S) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245,

2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
2260, 2421, 2422, 2423, or 2425.

l:lC. Conelusions Regarding Applieability of Any Presumption Established Above

l:l The defendant has not introduced sufficient evidence to rebut the presumption above.
OR

I:l The defendant has presented evidence sufficient to rebut the presumption, but after considering the
presumption and the other factors discussed below, detention is warranted.

Part III - Analysis and Statement of the Rcasons for Detention

After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Government has proven:

y clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
the safety of any other person and the community

l:l By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure
the defendant’s appearance as required

in addition to any findings made on the record at the hcaring, the reasons for detention include the following:

ij Weight of evidence against the defendant is strong
l:l/§ubject to lengthy period ofincarceration ifconvicted

rior criminal history
lj:articipation in criminal activity while on probation, paroie, or supervision
l:l History of violence or use of weapons
l:l ‘listory of alcohol or substance abuse
H}Isack of stable employment
lZ/Lack of stable residence
\:l Lacl< of financially responsible sureties
l:| Lacl< of significant community or family ties to this district
l:\ Significant family or other ties outside the United States
l:l Lack oflegal status in the United States

Page 2 of 3

Case 2:17-cr-00225-SI\/|-.]CW Document 8 Filed 12/01/17 Page 3 of 3

AO 472 [Rcv. 09/16) Ordcr of Detcntion l’cnding Trial

 

l:l Subject to removal or deportation after serving any period ofincarceration
l:l Prior failure to appear in court as ordered

l:l Prior attempt(s) to evade law enforcement

l:l Use of alias(es) or false documents

[:] Background information unknown or unverified

ij Prior violations of probation, parole, or supervised release

OTHER REASONS OR FURTHER EXPLANATION:

 

 

l:] Thc defendant stipulates to detention with a reservation of the right to reurge should circumstances permit.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Part IV - Directions Regartling I)etention

The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation
with defense counsel. On order ofa Court ofthe United States or on request ofan attorney for the Government, the person
in charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an appearance
in connection with a court proceeding

Date: )9 \S (/ 7
nited States Dislrict Judge / Magistrate Judge

Page 3 of 3

